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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3037
                                        )
             v.                         )
                                        )
FRANK N. JUVIEL,                        )      MEMORANDUM AND ORDER
                                        )
                   Defendant.           )

      The defendant’s appointed counsel, Richard Alexander, has moved to withdraw
as counsel of record for the defendant. Mr. Alexander explains that the defendant has
not maintained contact with counsel for over a year, and has apparently fled the
jurisdiction of Nebraska. Filing No. 102. The court finds the motion should be
granted. Accordingly,

       IT IS ORDERED that the motion to withdraw filed by Richard Alexander,
(filing no. 102), is granted. Mr. Alexander’s name shall be withdraw from all future
ECF filings.

      DATED this 13 th day of January, 2010.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge
